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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

ALEXANDRA MATALAVAGE,
             Plaintiff,

                                                                  20-CV-1254 WMS(LGF)
                             vs.
                                                                  PLAINTIFF’S FIRST SET OF
                                                                  INTERROGATORIES TO
                                                                  DEFENDANT FILICETTI
COUNTY OF NIAGARA, NEW YORK ET AL.,
               Defendants.



To:           Michael Filicetti
              Michael E. Hickey, Esq.
              Riane F. Lafferty, Esq.
              Attorneys for Defendant
              Bond, Schoeneck & King,
              200 Delaware Avenue, Suite 900
              Buffalo, NY 14202


              Plaintiff, ALEXANDRA MATALAVAGE, pursuant to Fed. R. Civ. P. 33, propounds the

following Interrogatories upon the Defendant MICHAEL FILICETTI to be answered within

thirty (30) days. These Interrogatories must be answered fully, separately, in writing, and under

oath. Each answer must be preceded by the question to which it responds. Where a designated

Interrogatory includes subparagraphs, each is to be answered separately, organized in such a

manner as to identify the sub-part to which the response applies. Pursuant to Local Rule of

Practice 26(b) an electronic courtesy copy of these Interrogatories in Word format will be

emailed to counsel.

              The definitions and instructions contained in Local Rule of Practice 26(c)(3) and

26(c)(4), attached hereto, are hereby incorporated into and made a part of each Interrogatory that

follows, and must be strictly followed.



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              Defendant is further requested to provide Plaintiff with a list of any documents withheld

under a claim of privilege, providing the date, author, title and addresses of the document, the

identity of any person or entity to whom the document has been supplied, a description of the

subject matter of the document, and the basis for the assertion of a privilege, pursuant to the

procedures set forth in Local Rule of Practice 26(d)(1) and (2) (attached hereto).

              The procedures set forth in Local Rule of Practice 26(e) (attached hereto) governing

discovery of electronically stored information are also hereby incorporated by reference.

              No part of an Interrogatory shall be left unanswered merely because an objection is

interposed in another part of the Interrogatory.

              Should an objection to an Interrogatory be interposed, it should clearly indicate which

part or portion of the Interrogatory it is directed.

              If, in answering any of these Interrogatories, Defendant claims any ambiguity in

interpreting either the Interrogatory, definition, or instruction thereto, such claim shall not be

utilized by Defendant as a basis for refusing to answer, but Defendant shall set forth as part of

the answer, the language deemed to be ambiguous and the interpretation chosen or used in

responding to the Interrogatory.

              If an Interrogatory cannot be answered in full, then Defendant should answer to the

extent possible, and state the reason for the inability to provide a complete answer.

              If documents responsive to any Interrogatory have already been produced please advise

the bates numbers of all such documents or otherwise identify the specific responsive documents

to each Interrogatory.

              The procedures set forth in Local Rule of Practice 26(e) (attached hereto) governing

discovery of electronically stored information are also hereby incorporated by reference.




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              In answering these Interrogatories, the Defendant is requested to furnish all information,

including hearsay, in possession of the Defendant and his attorneys, agents, investigators,

employees, independent contractors, and all other persons acting on behalf of the Defendant, and

not merely such information known of the personal knowledge of the person answering these

Interrogatories.

              The Interrogatories which follow are to be considered as continuing to the extent

permitted by Rule 26(e) of the Federal Rules of Civil Procedure, and Defendant Filicetti is

requested to provide, by way of supplementary answers, such additional information as

Defendant Filicetti is or any other person acting on his behalf may hereafter obtain which will

augment or otherwise modify Defendant Filicetti’s answers now given to the Interrogatories

below. Such supplementary responses are to be served upon plaintiff within 30 days after receipt

of such information.

              The failure to comply with any of the said instructions and procedures will constitute the

basis for an objection to the response to these Interrogatories.

                                                              INTERROGATORIES


1) Please state how long Defendant Filicetti has been employed by the Niagara County

       Sheriff’s Office, what positions Defendant Filicetti has held, and the dates Defendant Filicetti

       has occupied each position.

2) Please identify all documents prepared or maintained by the Defendant Filicetti, and any

       personal diaries, memoranda, or other documents prepared or maintained by Defendant

       Filicetti or any other Defendant, consulted by Defendant Filicetti in responding to these

       requests.

3) Please identify all communications, and set forth the substance of all non-privileged


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       communications Defendant Filicetti received from any individual, including, but not limited

       to the other Defendants and each of their representatives, concerning the investigation of

       Plaintiff Matalavage’s performance or non-performance of her duties during the time period

       2018-2019.

4) Please identify the person(s) involved in the decision to discipline the Plaintiff for alleged

       time violations involving inconsistencies between her log entries and swipes recorded in

       Defendants’ electronic access control system and describe in precise detail exactly what each

       person identified did, and when he or she did it, in connection with the decision.

5) Please identify all communications Defendant Filicetti had with employees of Defendants,

       and set forth the substance of all non-privileged communications Defendant Filicetti had

       with any individual, including, but not limited to the other Defendants and their

       representatives, concerning EEOC Charges 525-2019-00825, 525-2019-01124 and 525-

       2019-01448.

6) Please identify all communications, and set forth the substance of all non-privileged

       communications Defendant Filicetti had with any individual, including, but not limited to

       the other Defendants and their representatives, concerning the Commission of Corrections’

       Minimum Standards Evaluation dated April 2018.

7) Please identify all communications, and set forth the substance of all non-privileged

       communications Defendant Filicetti had with any individual, including, but not limited to the

       other Defendants and their representatives, concerning the implementation of the Electronic

       Supervisory Round Review procedure in the Niagara County Jail.

8) Please describe all actions undertaken by Defendants between April 9, 2019 and July 1,

       2019, inclusive, that communicated to Plaintiff details and specific information concerning




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       her alleged violation of the Employer’s procedures, rules and regulations, and information as

       to how she might avoid violations of those rules and regulations in the future.

9) Please identify the employee(s) of the Niagara County Sheriff’s Office who participated in

       the decision to charge Plaintiff with a crime and describe in precise detail exactly what each

       person identified did, and when he or she did it, in connection with the decision.

10) Who authorized the offer communicated to Plaintiff on June 11, 2019, to refrain from

       charging Plaintiff with a crime if she resigned from her position and withdrew her EEOC

       charge?

11) Who authorized the offer communicated to Plaintiff on or about June 21, 2019, to drop all

       criminal charges against Plaintiff, provide a neutral letter of reference and not protest an

       application for unemployment insurance benefits if Plaintiff resigned and withdrew her

       EEOC charge?

12) Who authorized the offer communicated to Plaintiff on or about June 25, 2019, to enter a last

       chance agreement with Plaintiff and impose a 60-day suspension without pay instead of a

       resignation?

13) Who authorized the offer communicated to Plaintiff on or about June 27, 2019, to accept a

       60-day suspension and withdraw her EEOC charge without a last chance agreement?

14) Please state why withdrawal of Plaintiff’s EEOC charges was made a condition of her

       continued employment in June 2019.

15) Please identify the scope of Defendant Filicetti’s responsibilities at the Niagara County Jail

       for personnel decisions.

16) Concerning the Felony Complaints against the Plaintiff signed by Brian Harrer, please state

       the following:




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       a) Who authorized the preparation of the felony complaints;

       b) On what date were the felony complaints prepared;

       c) What communication did Defendant Filicetti have with Lt. Harrer concerning the felony

              complaints.

17) Please identify all communications Defendant Filicetti had with employees of Niagara

       County District Attorney, and set forth the substance of all non-privileged communications

       Defendant Filicetti received from any individual, including, but not limited to including, but

       not limited to employees of the Niagara County District Attorney, other employees of

       Defendants. and their representatives, concerning People v. Matalavage, Lockport Town

       Court Case No. 19080278.

18) State whether the Defendants regard written policies and written rules concerning employee

       conduct as binding on the Defendants.

19) Please identify any and all individuals who assisted Defendant Filicetti in preparing his

       responses to these requests.

DATED:                       May 19, 2021
                             Buffalo, New York




  /s/ Elizabeth Tommaney                                      /s/ Anna Marie Richmond
  ______________________________                              ______________________________
  By:     Elizabeth Tommaney, Esq.                            Anna Marie Richmond, Esq.
          Attorney for Plaintiff                              Attorney for Plaintiff
          TOMMANEY LAW, PLLC                                  2500 Rand Building
          2500 Rand Building                                  14 Lafayette Square
          Buffalo, NY 14203                                   Buffalo NY 14203




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        (2)     a statement defining the class sought to be certified, including its geographical and
                temporal scope;

        (3)     a description of each party’s particular grievance and why that claim qualifies the
                party as a member of the class as defined;

        (4)     a statement describing any other pending actions in any court against the same
                defendant(s) that allege the same or similar causes of actions, about which the party
                or counsel seeking class action certification is personally aware;

        (5)     a statement of any other matters that the movant deems necessary and proper to
                expedite a decision on the motion and resolution of the case on the merits.

                Responses to certification motions shall be in accordance with the requirements of
                these Local Rules.

(e)     Abandonment. Failure to move for class determination and certification on or before the
        deadline established in the scheduling order shall constitute an intentional abandonment
        and waiver of all class action allegations contained in the pleading, and the action shall
        proceed thereafter as an individual, non-class action. If any motion for class determination
        or certification is filed after the deadline, it shall not have the effect of reinstating the class
        allegations unless and until it is acted upon favorably by the Court upon a finding of
        excusable neglect and good cause.

(f)     Notice. If the Court determines that an action may be maintained as a class action, the
        party obtaining that determination shall, unless otherwise ordered by the Court, initially
        bear the expenses of and be responsible for giving such notice as the Court may order to
        members of the class.

(g)     Amendments. No class action allegation of a certified class shall be withdrawn, deleted, or
        otherwise amended without Court approval.

(h)     Applicability. The foregoing provisions shall apply, with appropriate adaptations, to any
        counterclaim or cross-claim brought for or against a class.



                                               RULE 26

                        GENERAL RULES GOVERNING DISCOVERY

(a)     Rule 26(f) Discovery Conference. The parties shall confer about all of the matters
        contemplated by Fed.R.Civ.P. 26(f) and L.R.Civ.P. 16(a)(3), unless the case is excepted
        from this requirement by L.R.Civ.P. 16(b)(1).

(b)     Form of Interrogatories, Requests to Produce or Inspect, and Requests for Admission.
        The parties shall sequentially number each interrogatory or discovery request. In addition

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        to service pursuant to Fed.R.Civ.P. 5, the party to whom interrogatories or discovery
        requests are directed shall, whenever practicable, be supplied with an electronic courtesy
        copy of the served document in a word processing format. In answering or objecting to
        interrogatories or discovery requests the responding party shall first state verbatim the
        propounded interrogatory or request, and immediately thereafter the answer or objection.

(c)     Uniform Definitions for all Discovery Requests.

        (1)    The full text of the definitions and rules of construction set forth in subsections (3)
               and (4) is deemed incorporated by reference into all discovery requests. No
               discovery request shall use broader definitions or rules of construction than those set
               forth in subsections (3) and (4). This rule shall not preclude (a) the definition of
               other terms specific to the particular litigation, (b) the use of abbreviations, or (c) a
               more narrow definition of a term defined in subsection (3).

        (2)    This rule is not intended to broaden or narrow the scope of discovery permitted by
               the Federal Rules of Civil Procedure.

        (3)    The following definitions apply to all discovery requests:

               (A)     Communication. The term “communication” means the transmittal of
                       information (in the form of facts, ideas, inquiries or otherwise).

               (B)     Document. The term “document” is defined to be synonymous in meaning
                       and equal in scope to the usage of this term in Fed.R.Civ.P. 34(a), including,
                       without limitation, electronic or computerized data compilations. A draft or
                       non-identical copy is a separate document within the meaning of this term.

               (C)     Identify (with respect to persons). When referring to a person, “to identify”
                       means to give, to the extent known, the person’s full name, present or last
                       known address, and when referring to a natural person, the present or last
                       known place of employment. Once a person has been identified in
                       accordance with this subsubsection, only the person’s name need be listed in
                       response to subsequent discovery requesting the identification of that person.

               (D)     Identify (with respect to documents). When referring to documents, “to
                       identify” means to give, to the extent known, the (i) type of document; (ii)
                       general subject matter; (iii) date of the document; and (iv) author(s),
                       addressee(s), and recipients(s).

               (E)     Parties. The terms “plaintiff” and “defendant,” as well as a party’s full or
                       abbreviated name or a pronoun referring to a party, mean the party and,
                       where applicable, its officers, directors, employees, partners, corporate
                       parent, subsidiaries, or affiliates. This definition is not intended to impose a
                       discovery obligation on any person who is not a party to the litigation.

               (F)     Person. The term “person” is defined as any natural person or any business,
                       legal or governmental entity, or association.

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               (G)    Concerning. The term “concerning” means relating to, referring to,
                      describing, evidencing or constituting.

        (4)    The following rules of construction apply to all discovery requests:

               (A)    And/Or. The connectives “and” and “or” shall be construed either
                      disjunctively or conjunctively as necessary to bring within the scope of the
                      discovery request all responses that might otherwise be construed to be
                      outside of its scope.

               (B)    Number. The use of the singular form of any word includes the plural and
                      vice versa.

(d)     Assertion of Claim of Privilege.

        (1)    Where a party asserts a claim of privilege in objecting to any means of discovery or
               disclosure, and withholds otherwise responsive information based on that assertion:

               (A)    the party asserting the privilege shall identify the nature of the privilege
                      (including work product) being claimed and, if the privilege is governed by
                      state law, indicate the state’s privilege rule being invoked; and

               (B)    shall provide the following information, unless to divulge such information
                      would cause disclosure of the allegedly privileged information:

                      (i)     for documents: (a) the type of document, i.e., letter or memorandum;
                              (b) the general subject matter of the document; (c) the date of the
                              document; and (d) such other information as is sufficient to identify
                              the document for a subpoena duces tecum, including, where
                              appropriate, the author of the document, the addressees of the
                              document, and any other recipients shown in the document, and,
                              where not apparent, the relationship of the author, addressees, and
                              recipients to each other;

                      (ii)    for oral communications: (a) the names of the person making the
                              communication and the person(s) present while the communication
                              was made and, where not apparent, the relationship of the person
                              making the communication to the person(s) present; (b) the date and
                              place of communication; and (c) its general subject matter.

        (2)    Where the claim of privilege is asserted in response to discovery or disclosure other
               than at a deposition, the information set forth in subsection (1) shall be furnished in
               writing when the party responds to such discovery or disclosure, unless otherwise
               ordered by the Court.

        (3)    Where the claim of privilege is asserted during a deposition, the information set
               forth in subsection (1) shall be furnished: (a) at the deposition, to the extent it is

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               readily available from the witness being deposed or otherwise, and (b) to the extent
               it not readily available, in writing within fourteen (14) days after the privilege is
               asserted, unless otherwise ordered by the Court.
        (4)    Efficient means of providing information regarding claims of privilege are
               encouraged, and parties are encouraged to agree upon measures that further this
               end. For example, when asserting privilege on the same basis with respect to
               multiple documents, it is presumptively proper to provide the information required
               by this rule by group or category. A party receiving a privilege log that groups
               documents or otherwise departs from a document-by-document or
               communication-by-communication listing may not object solely on that basis, but
               may object if the substantive information required by this rule has not been provided
               in a comprehensible form.

(e)     Electronically Stored Information. Discovery of relevant electronically stored information
        shall proceed as follows:

        (1)    After receiving requests for document production, the parties shall search their
               documents, including ESI other than ESI that has been identified as not reasonably
               accessible, and produce relevant responsive ESI in accordance with Fed.R.Civ.P.
               26(b)(2).

        (2)    Searches and production of ESI identified as not reasonably accessible shall not be
               required to be conducted until the initial disclosure of reasonably accessible ESI has
               been completed. Requests for information expected to be found in ESI that is not
               reasonably accessible must be narrowly focused with some basis in fact supporting
               the request, and good cause must be provided. The party seeking such discovery
               may be required to pay all or a portion of the costs of search, retrieval, review, and
               production of the information, upon application to the Court.

        (3)    Search Methodology. If a party intends to employ an electronic search to locate
               relevant ESI, the parties shall discuss and attempt to reach agreement as to the
               method of searching, and the words, terms, and phrases to be searched and any
               restrictions as to scope and method which might affect their ability to conduct a
               complete electronic search of the ESI. The parties shall also attempt to reach
               agreement as to the timing and conditions of any additional searches which may
               become necessary in the normal course of discovery. To minimize undue expense,
               the parties may consider limiting the scope of the electronic search (i.e., time frames,
               fields, document types).

        (4)    Metadata. Except as otherwise provided, metadata, especially substantive
               metadata, need not be routinely produced, except upon agreement of the requesting
               and producing litigants, or upon a showing of good cause in a motion filed by the
               requesting party.

        (5)    Format. If the parties have not agreed or cannot agree to the format for document
               production, ESI shall be produced to the requesting party as image files (i.e. PDF or
               TIFF). When the image file is produced, the producing party must preserve the
               integrity of the electronic document’s contents, i.e., the original formatting of the

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               document, its metadata and, where applicable, its revision history. After initial
               production in image file format is complete, a party must demonstrate particularized
               need for production of ESI in its native format.
        (6)    Costs. Generally, the costs of discovery, other than the costs associated with ESI
               that is not reasonably accessible, shall be borne by each party. However, the Court
               will apportion the costs of discovery or presentation of ESI, including discovery of
               ESI that is not reasonably accessible, upon a showing of good cause, or unequal
               burdens, or unreasonable request.

(f)     Non-filing of Discovery Materials. Parties shall comply with Fed.R.Civ.P. 5(d)(1), except
        that in cases involving an incarcerated pro se litigant, all discovery materials must be filed
        with the Court pursuant to L.R.Civ.P. 5.2(f).

(g)     Cooperation Among Counsel in the Discovery Context. See the Civility Principles and
        Guidelines of the United States District Court for the Western District of New York which
        can be found on the Court’s website, http://www.nywd.uscourts.gov.



                                             RULE 29

                                         STIPULATIONS

        All stipulations, except stipulations made in open court and recorded by the court reporter,
shall be in writing and signed by each attorney and/or pro se litigant. The parties shall determine
who will be responsible for filing, and a copy of the stipulation, with signatures conformed (i.e.,
“s/Jane Doe,” “s/John Smith”), shall be filed electronically. The Court will act on the filed
stipulation, as necessary and appropriate.


                                             RULE 30

                                          DEPOSITIONS

(a)     Fair Notice. Absent agreement of the parties or Court order, each notice to take the
        deposition of a party or other witness shall be served at least twenty-one (21) days prior to
        the date set for examination.

(b)     Production of Documents in Connection with Depositions. Consistent with the
        requirements of Fed.R.Civ.P. 30 and 34, a party seeking production of documents of
        another party or witness in connection with a deposition shall schedule the deposition to
        allow for production of the documents at least seven (7) calendar days prior to the
        deposition. Upon receipt of the documents, the party noticing the deposition shall
        immediately inform counsel for all other noticed parties that the requested documents have
        been produced and shall make the documents available for their inspection and
        reproduction. If timely requested documents are not produced at least seven (7) days prior
        to the deposition, the party noticing the deposition may either adjourn the deposition until a


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